       Case 22-10153-mdc        Doc 30Filed 04/29/22 Entered 04/29/22 08:36:58                 Desc Main
                                      Document     Page 1 of 1
                               UNITED STATES BANKRUTPCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                       Chapter 13
       EDNA RODRIGUEZ



                              Debtor                Bankruptcy No. 22-10153-MDC



                                                    ORDER

      AND NOW, this ____________
                            28th      day of ___________________
                                                      April           202, upon consideration of the Motion
to DismissCase filed by Kenneth E. West, Standing Trustee, and after notice and hearing, it is hereby
ORDEREDthat this caseisDISMISSEDand that any wage orders previously entered are VACATED.

      IT IS FURTHER ORDERED that any undisbursed funds held by the Chapter 13 Trustee from
 payments made on account of the Debtor’s plan shall be refunded to the Debtor unless a party in interest files a
 Motion for Alternative Disbursement within 21 days of the entry of this Order.



                                                           _____________________________
                                                           ______________________________
                                                           Magdeline D. Coleman
                                                           Chief 86Bankruptcy Judge

Kenneth E. West, Trustee
P.O. Box 40837
Philadelphia, PA 19107

Debtor’s Attorney:
BRAD J. SADEK ESQ
SADEK LAW OFFICE
1315 WALNUT STREET #502
PHILADELPHIA, PA 19107-


Debtor:
EDNA RODRIGUEZ

59 OTTAWA LANE

HONEY BROOK, PA 19344
